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                         IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 11

BOY SCOUTS OF AMERICA AND                                  Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                           (Jointly Administered)
                          Debtors. 1
                                                           Re: Docket No. 11789, 11790



                                         NOTICE OF APPEAL

         PLEASE TAKE NOTICE that D. S. submit this Notice of Appeal in conformity with

Bankruptcy Form B417A.

Part 1: Identify the appellant(s)
    1. Names of Appellant: D.S.

    2. Position of Appellant in the bankruptcy case: Creditor (sex abuse claimant)
Part 2: Identify the subject of this appeal
    1. Describe the judgment, orders, or decree appealed from:
                Order Denying Motion to Change Election to Opt Into Expedited
                Payment/Convenience Class or Other Necessary Relief on Behalf of Survivor
                Claimant D.S. (D.I. 11790) and accompanying Opinion (D.I. 11789) and all other
                subsumed judgments, orders, and decrees brought up for review in the appeal.

                A copy of the Order is attached hereto as Exhibit A and a copy of the Opinion is
         attached hereto as Exhibit B.

    2. State the date on which the judgment, order, or decree was entered:
                The Order was entered on February 5, 2024 and the Opinion was entered the same
         day on February 5, 2024.




1
 The Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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Part 3: Identify the other parties to the appeal
        The other parties to the Order and Opinion, and the names, addresses, and telephone

numbers of their attorneys, are as follows:

 D.S.                    GELLERT SCALI BUSENKELL & BROWN LLC
                         Charles J. Brown, III (DE 3368)
 (Appellant)             1201 N. Orange Street, 3rd Floor
                         Wilmington, DE 19801
                         Phone: 302-425-5813
                         Fax: 302-425-5814
                         Email: cbrown@gsbblaw.com

                         -and-

                         Tyler H. Fox, Esq.
                         (MA BBO #176860)
                         135 Antrim Street, Suite #2
                         Cambridge, MA 02139
                         Phone: (857-260-3105)
                         Email: tylerfox@verizon.net
 Boy Scouts of           MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 America, and            Derek C. Abbott
                         Andrew R. Remming
 Delaware BSA, LLC       Paige N. Topper
                         Tori L. Remington
 (Debtors)               1201 North Market Street, 16th Floor
                         P.O. Box 1347
                         Wilmington, Delaware 19899-1347
                         Telephone: (302) 658-9200
                         Email: dabbot@morrisnichols.com
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                                ptopper@morrisnichols.com
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                         – and –

                         WHITE & CASE LLP
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                         – and –


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                         WHITE & CASE LLP
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                         Matthew E. Linder
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                                blair.warner@whitecase.com
 Barbara J. Houser, in   PACHULSKI STANG ZIEHL & JONES LLP
 her capacity as         Richard M. Pachulski
 Trustee of the BSA      Debra I. Grassgreen
 Settlement Trust        James E. O’Neill
                         919 North Market Street, 17th Floor
 (Appellees)             P.O. Box 8705
                         Wilmington, DE 19899-8705 (Courier 19801)
                         Telephone: (302) 652-4100
                         Email: rpachulski@pszjlaw.com
                                dgrassgreen@pszjlaw.com
                                 joneill@pszjlaw.com

                         – and –

                         GILBERT LLP
                         Kami E. Quinn (admission pro hac vice)
                         Emily P. Grim (admission pro hac vice)
                         Sarah A. Sraders (admission pro hac vice)
                         700 Pennsylvania Avenue
                         SE Suite 400
                         Washington, DC 20003
                         Telephone: (202) 772-2200
                         Facsimile: (202) 772-3333
                         Email: quinnk@gilbertlegal.com
                                grime@gilbertlegal.com
                                sraderss@gilbertlegal.com

Part 4: Optional election to have appeal heard by District Court:
               N/A




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 Part 5: Sign Below:


Dated: February 19, 2024                  GELLERT SCALI BUSENKELL & BROWN LLC

                                          /s/ Charles J. Brown, III
                                          Charles J. Brown, III (DE 3368)
                                          1201 N. Orange Street, 3rd Floor
                                          Wilmington, DE 19801
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                                          Counsel for D.S.
Of Counsel:
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                               CERTIFICATE OF SERVICE

      I, Charles J. Brown, III, hereby certify that on February 19, 2024, I caused a copy of the

forgoing NOTICE OF APPEAL, to be served on all registered users of the Court’s Case

Management/Electronic Case File (“CM/ECF”) in this case via CM/ECF.

Dated: February 19, 2024                            GELLERT SCALI BUSENKELL & BROWN LLC

                                                    /s/ Charles J. Brown, III
                                                    Charles J. Brown, III (DE 3368)
                                                    1201 N. Orange Street, 3rd Floor
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                                                    Counsel for D. S.




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